133 F.3d 923
    NOTICE:  Eighth Circuit Rule 28A(k) governs citation of unpublished opinions and provides that they are not precedent and generally should not be cited unless relevant to establishing the doctrines of res judicata, collateral estoppel, the law of the case, or if the opinion has persuasive value on a material issue and no published opinion would serve as well.Richard L. MUDGE, Plaintiff--Appellant,v.Kenneth S. APFEL, Commissioner of Social Security,* Defendant--Appellee.
    No. 97-2608.
    United States Court of Appeals, Eighth Circuit.
    Submitted Jan. 19, 1998.Filed Jan. 29, 1998.
    
      Before FAGG, BEAM, and HANSEN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Richard L. Mudge appeals the district court's1 decision granting summary judgment to the Commissioner and affirming the Commissioner's decision to deny Mudge disability insurance benefits and supplemental security income.  Having carefully reviewed the record and the parties' submissions, we affirm the judgment of the district court for the reasons set forth in the magistrate judge's report.  See 8th Cir.R. 47B.
    
    
      
        *
         Kenneth S. Apfel has been appointed to serve as Commissioner of Social Security, and is substituted as appellee pursuant to Federal Rule of Appellate Procedure 43(c)
      
      
        1
         The Honorable John R. Tunheim, United States District Judge for the District of Minnesota, adopting the report and recommendations of the Honorable John M. Mason, United States Magistrate Judge for the District of Minnesota
      
    
    